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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK




 In re Citibank August 11, 2020 Wire Transfers                 No. 20 Civ. 06539 (JMF)




                             CITIBANK’S MOTION FOR
                         AN INJUNCTION PENDING APPEAL




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                                        INTRODUCTION

       Last August, when first faced with this extraordinary case, this Court issued a common-

sense order: Preserve the status quo and do not dissipate the funds that had been accidentally

transferred from Citibank. That order provided a much-needed pause. Preventing the recipients

from distributing the money ensured that any judgment for Citibank could be executed. The Court

could require the defendants to return the funds. And the defendants could hardly complain at

being told to wait. To their clients, the money represents a lottery-like windfall of hundreds of

millions of dollars. They were not expecting to receive this money for several years, if at all.

       Those very same equities support preserving the status quo during the appeal. Without an

injunction—a continuation of the status quo—the defendants could, and might feel compelled to,

immediately authorize distribution of the disputed funds to the accounts of hundreds of investors

around the world. Those investors, in turn, could transfer the funds again, making Citibank’s funds

very difficult, if not impossible, to trace. If that happens, Citibank would suffer an immediate and

irreparable injury. Even if Citibank prevailed at the Second Circuit, its victory would prove hollow.

At the same time, the defendants cannot claim any meaningful harm from the brief delay of an

appeal. The defendants did not anticipate receiving the funds at issue for years to come. Further,

Citibank has expeditiously filed its notice of appeal, and it is prepared to move expeditiously in

the Second Circuit, in order to minimize any delay.

       In cases involving money judgments, the plaintiff is not entitled even to receive, let alone

spend, its award while the appeal is pending. The defendant can obtain a stay pending appeal as of

right, so long as it merely furnishes adequate security. See Fed. R. Civ. P. 62(b). Here, the lenders

hold the funds—giving them even better security than would be required to stay a money judgment

automatically. In short: Without an injunction, Citibank stands to lose any meaningful shot at

successful recovery, while an injunction costs the defendants nothing at all.

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       Citibank also has a strong likelihood of prevailing on appeal, a separate factor that counsels

in favor of preserving the status quo to make a decision in Citibank’s favor meaningful. As the

Court recognized, whether the discharge-for-value defense applies here is a close question. The

case raises legal issues of first impression in this Circuit about important points of New York law

that took this Court 100 pages to resolve. And the Court acknowledged that if it were “writing on

a blank slate, it is far from clear” it would allow the defendants “to keep the money that Citibank

indisputably transferred by mistake.” Dkt. 243 (Op.) at 99. The Second Circuit may well decide

this case differently on appeal—especially given that the key legal questions will be reviewed de

novo. If this kind of legal dispute does not warrant an injunction to ensure meaningful

consideration by the appellate court, then little does.

       Lastly, the public interest strongly favors an injunction. This Court’s ruling will have an

enormous impact on wire transfers, the basic building blocks of the global financial system. The

discharge-for-value defense is an exception to the general rule that money transferred by mistake

must be returned. The decision in this case expands that defense, creating uncertainty about

whether this Court’s rule will apply in the next case involving a mistaken wire transfer. The

financial industry thrives on stability. An appeal, regardless of its outcome, will produce an

authoritative Second Circuit opinion that will dispel needless confusion. A brief delay to permit

the Second Circuit to provide that certainty therefore is in the public interest.

       Separately and together, these factors all favor maintaining the status quo. This Court

should convert its existing temporary restraining orders into an injunction pending appeal. If the

Court declines to do so, Citibank respectfully requests that the Court leave the temporary

restraining orders in place briefly, long enough for Citibank to seek injunctive relief from the

Second Circuit.



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                                         BACKGROUND

       Citibank is the administrative agent on a 2016 term loan to Revlon. The defendants are

managers of dozens of funds that participate in the loan syndicate.

       On August 11, 2020, Citibank attempted to make an interest payment on the loan consisting

of $7.8 million of Revlon’s funds. Citibank instead sent, with its own funds, an amount equal to

the entire principal balance outstanding on the loan, about $893 million dollars. The next day,

Citibank sent multiple recall notices telling the lenders of the mistake. Many lenders returned

Citibank’s money, but the defendants refused.

       Citibank brought these consolidated actions seeking return of the funds. The defendants

have now conceded that the payments were mistaken. But they interposed the

“discharge-for-value” doctrine as an affirmative defense: When a creditor receives funds “in good

faith and without any notice of any wrong and credit[s] them on an indebtedness due them,” the

transferor “is not entitled to recover them back.” Banque Worms v. BankAmerica Int’l, 77 N.Y.2d

362, 368 (1991).

       Citibank argued that this defense is inapplicable. Revlon’s debt was not due for another

three years, and the defendants never “discharged” the debt—they instead placed the money in

suspense accounts and have continued to accept interest payments from Revlon to this day.

Further, Citibank argued that the defendants were on notice of Citibank’s mistake from the moment

their clients received the funds.

       At the outset of this litigation, the Court entered temporary restraining orders (TROs)

freezing the funds, preventing the defendants from disposing of them until the Court’s decision in

this matter. After a bench trial, the Court issued an opinion holding that the defendants are entitled

to rely on the discharge-for-value defense and entered judgment in their favor. Op.; Dkt. 244.



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       Citibank has appealed the judgment, and it is prepared to move expeditiously in the Second

Circuit. Citibank now moves for an injunction continuing to freeze the funds—essentially

extending the TROs—pending its appeal.

                                           ARGUMENT

       Federal Rule of Civil Procedure 62(d) empowers this Court to grant an injunction pending

appeal. Fed. R. Civ. P. 62(d); see Kidder, Peabody & Co. v. Maxus Energy Corp., 925 F.2d 556,

564-65 (2d Cir. 1991). In deciding whether to maintain the status quo, the Court balances the four

familiar equitable factors: (1) whether the party seeking an injunction will suffer irreparable injury

absent the injunction; (2) whether the injunction will substantially injure other parties in the case;

(3) whether the party seeking the injunction can show a likelihood of success on the merits; and

(4) where the public interest lies. See New York v. U.S. Dep’t of Homeland Sec., 974 F.3d 210, 214

(2d Cir. 2020) (citing Nken v. Holder, 556 U.S. 418, 434 (2009)). Both individually and

cumulatively, Citibank satisfies those factors. The Court should enter an injunction, on the same

terms as the prior TROs, that will last through the final disposition of the appeal.

I.     CITIBANK WILL SUFFER IRREPARABLE HARM ABSENT AN INJUNCTION

       Citibank will suffer irreparable harm absent an injunction. Without an order freezing the

mistakenly transferred funds, the lenders will be able to disperse the disputed funds through a

byzantine network of investors around the world—many of which may transfer the funds again to

yet more parties. If that happens, the defendants may well become powerless to return the disputed

money, and Citibank likely would be unable to trace its funds absent 100-plus separate collection

actions. In other words, even if Citibank prevailed in the Second Circuit, its victory likely would

be a hollow one. This Court recognized that reality when it issued the TROs at the outset of this

case, and nothing has changed since. The Court should maintain the status quo so that Citibank

has a meaningful opportunity to appeal these weighty and complex issues to the Second Circuit.

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       Irreparable harm exists “where, but for the grant of equitable relief, there is a substantial

chance that upon final resolution of the action the parties cannot be returned to the positions they

previously occupied.” Brenntag Int’l Chems., Inc. v. Bank of India, 175 F.3d 245, 249 (2d Cir.

1999). Likewise, “where the denial of a stay pending appeal risks mooting any appeal of significant

claims of error, the irreparable harm requirement is satisfied.” In re Adelphia Commc’ns Corp.,

361 B.R. 337, 348 (S.D.N.Y. 2007) (emphases omitted).

       A party has shown irreparable harm when it claims title to specific funds and shows that,

absent an injunction, the funds are at risk of dissipation. The “risk that defendant will have

dissipated the [funds] without paying the plaintiff, leaving the plaintiff out of luck and out of

money,” is a sufficient risk of irreparable harm to justify an injunction. Ger-Nis Int’l, LLC v. FJB,

Inc., 2007 WL 656851, at *2 (S.D.N.Y. Mar. 1, 2007) (quotation marks omitted); cf. Montanile v.

Bd. of Trs. of Nat’l Elevator Indus. Health Benefit Plan, 577 U.S. 136, 145-46 (2016) (where a

plaintiff claims an equitable entitlement to specific funds, dissipation of funds generally defeats

the equitable claim). When the transferees responsible for payment are “dispersed around the

country,” or the prevailing party on appeal “would need to institute collection actions in numerous

jurisdictions” to recover its dissipated funds, the risk of irreparable harm—and the call for

injunctive relief—becomes even greater. In re Currency Conversion Fee Antitrust Litig., 2010 WL

1253741, at *2 (S.D.N.Y. Mar. 5, 2010); see In re Initial Pub. Offering Sec. Litig., 728 F. Supp.

2d 289, 293 (S.D.N.Y. 2010) (“The Objectors are dispersed around the country and none has

offered to guarantee payment of costs that might be assessed against them. In the event the

Objectors are unsuccessful on appeal, plaintiffs would need to institute collection actions in

numerous jurisdictions to recover their costs. As a result, there is a significant risk of

non-payment.”). Injunctions, in other words, “are [] appropriate to thwart a defendant from making



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a judgment uncollectible.” Quantum Corp. Funding, Ltd. v. Assist You Home Health Care Servs.

of Va., 144 F. Supp. 2d 241, 248, 250 & n.9 (S.D.N.Y. 2001).

       Absent an injunction, Citibank very well may be unable to trace and recover its funds, and

any legal victory on appeal could prove meaningless. Right now, the disputed funds in this case

sit within easy reach of the Court, in accounts tended by ten fund managers who have contractual

control over the money—and which, in fact, decided not to return it to Citibank in August and

have also been able to keep it in place since the TROs were entered. Without an injunction, the

situation would become precarious. The money would move out of the defendants’ control, to

more than 100 clients, which may—and in some cases might be contractually required to—

distribute the money further.1 At that point, the defendants would become unable to return the

funds, and Citibank would have little assurance that it could ever trace its money without over 100

separate collection actions against the defendants’ clients, each with its own burdensome

discovery. The Court should continue to maintain the status quo to ensure that the Court can grant

effective relief if the Second Circuit reverses on appeal.

       Quantum is particularly instructive. There, the court found that a defendant with “several

subsidiaries, satellite offices and shell companies” threatened to become “judgment-proof ” and

render any judgment for the plaintiff “uncollectable.” Quantum, 144 F. Supp. 2d at 246 & n.4. The

plaintiff “face[d] irreparable harm,” the court held, “in the form of an actual and imminent threat




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    In particular, nine defendants all use similar contracts providing that principal proceeds will
be paid out quarterly. See Ex. A-1 (PX 26) at 42, 149-51; Ex. A-2 (PX 187) at 48, 189-92; Ex. A-
3 (PX 1143) at 53-54, 204-07; Ex. A-4 (PX 1385) at 48, 190-91; Ex. A-5 (PX 1557) at 47, 196-
99; Ex. A-6 (DX 214) at 52, 206-08; Ex. A-7 (DX 1101) at 24, 217-19; Ex. A-8 (DX 1122) at 49,
194-95; Ex. A-9 (PX 60) at 60. The tenth defendant holds “the sole discretion” to “distribute[]” all
cash receipts “at any time.” Ex. A-10 (PX 1312) at 2, 11.

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that [the defendant’s] companies . . . will either cease to exist . . . or go under of their own accord

. . . , thereby making a judgment in [the plaintiff ’s] favor uncollectible.” Id. at 248.

        Here, if Citibank prevailed in the Second Circuit but did not have an injunction, it would

need to trace its funds through more than “several” subsidiaries. Citibank would need to wade

through over 100 transferees, most of which are vehicles that exist solely to distribute money to

investors. Absent an injunction, the money could be transferred to innumerable destinations and

jurisdictions around the world, including places where Citibank may not be able to avail itself of

U.S. courts. See In re Currency Conversion Fee Antitrust Litig., 2010 WL 1253741, at *2

(“significant risk of non-payment” when funds are “dispersed around the country”); In re Initial

Pub. Offering Sec. Litig., 728 F. Supp. at 293 (same); cf. Dkts. 194, 222 (describing destinations

of wire transfers). Only an injunction can ensure that an appellate decision in Citibank’s favor

could be enforced.

II.     AN INJUNCTION WILL NOT INJURE THE DEFENDANTS, MUCH LESS
        SUBSTANTIALLY

        The defendants will not be harmed by an injunction. The defendants did not expect their

clients to receive this money until 2023, and, given the uncertainties regarding the transfer, decided

on their own not to redeploy the funds. Meanwhile, Citibank has made good-faith efforts to

minimize any delay, including by immediately filing its notice of appeal. Citibank is also prepared

to proceed expeditiously in the court of appeals.

        In fact, if this were a case involving a traditional money judgment, Citibank would be able

to post a bond or surety and receive an automatic stay under Rule 62(b). Here, however, the

defendants have even better security than a bond: They already control the disputed assets. The

defendants’ strong security—plus the lack of any harm—militates in favor of granting an

injunction to prevent the assets’ dissipation pending appeal.


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       When “[d]efendants allege no independent source of harm that would result from a stay”

or injunction beyond “the validity, or lack thereof of the [ownership of funds, which] is precisely

what is at issue on appeal,” there is no substantial injury. SCANSCOT Shipping Servs.

(Deutschland) GmbH v. Metales Tracomex Ltda, 2009 WL 10701802, at *1 (S.D.N.Y. Dec. 23,

2009). And when funds have already been restricted during a district-court proceeding, “it is not

clear what additional harm would result from the granting of Plaintiff ’s request for” an injunction

during the appeal. Id.

       There is no dispute that the August 11 transfers were a surprise windfall to the defendants

and their clients. Before August 11, they had no expectation of Revlon’s debt being fully paid

down for at least another three years, and they had substantial doubt Revlon would pay at all. See

Dkt. 164 at 12-13. The defendants will suffer no injury, substantial or minor, if the Court

temporarily prevents them from dispersing their clients’ unanticipated fortune while the Second

Circuit considers whether they are entitled to keep it.

       Notably, when the Court granted the TROs at the outset of this case, defendant Brigade

never argued that it would suffer a specific harm if an injunction were entered. See Dkt. 22 at 5.

Although Brigade argued that its clients were owed the money transferred, Brigade did not contend

that they were due the money in August 2020, or that delaying receipt would cause any harm. Id.

Brigade simply claimed that Citibank could afford to part with its money, not that the defendants’

finances depended on it. Id.

III.   CITIBANK IS LIKELY TO PREVAIL ON THE MERITS

       Citibank can also show a substantial likelihood of success on the merits on appeal. Indeed,

this is precisely the situation in which this Court should preserve the status quo to allow the Second

Circuit to weigh in on a hotly contested legal question.



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       This is not a mine-run case in which the defendant disagrees with the application of settled

law to the facts of the case. The legal issues are undisputedly complex and novel, prompting this

Court to write a 100-page opinion. In interpreting New York law, this Court openly disagreed with

other circuits that have addressed the discharge-for-value defense. The Second Circuit will review

much of this case de novo. And this Court itself recognized that, were it writing on a blank slate,

it might not reach its counterintuitive result. The Second Circuit may well reach a different

conclusion about what its own precedents require, or it may certify one or more issues to the New

York Court of Appeals, which would have greater flexibility interpreting its own precedents than

this Court felt it did. Given the substantial questions involved in this case, the Court should grant

an injunction and permit a meaningful appeal.

       Citibank alleges four causes of action—unjust enrichment, money had and received,

payment by mistake, and conversion. Each turns primarily on the same inquiry, which is whether

Citibank’s payment was mistaken, “such that equity and good conscience demand restoration of

the disputed property.” T.D. Bank, N.A. v. JP Morgan Chase Bank, N.A., 2010 WL 4038826, at *4

(E.D.N.Y. Oct. 14, 2010). The Court held that “there is no dispute that” Citibank had established

that the August 11 transfers were made by mistake. Op. 35. Thus, the funds must be returned unless

some exception to the general rule, such as the discharge-for-value defense, applies.

       This Court applied the discharge-for-value defense, but the Second Circuit may well reach

the opposite conclusion. Under New York law, the discharge-for-value defense is as follows:

       A creditor of another or one having a lien on another’s property who has received
       from a third person any benefit in discharge of the debt or lien is under no duty to
       make restitution therefor, although the discharge was given by mistake of the
       transferor as to his interests or duties, if the transferee made no misrepresentation
       and did not have notice of the transferor’s mistake.

Banque Worms, 77 N.Y.2d at 367 (quoting RESTATEMENT (FIRST) OF RESTITUTION § 14(1) (Am.



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Law Inst. 1937)). Put another way, “[i]f defendants received the proceeds in good faith and without

any notice of any wrong and credited them on an indebtedness due them, plaintiff is not entitled

to recover them back.” Carlisle v. Norris, 215 N.Y. 400, 415 (1915).

       In the Second Circuit, Citibank anticipates arguing that the discharge-for-value defense

requires a defendant to make three showings. First, the transferee must be entitled to the funds at

the time of the transfer. Second, the transferee must not have notice of the mistake. Third, the

transferee must discharge the funds for value. To maintain their victory on appeal, the defendants

must prevail on all of these contested elements. But to secure reversal, Citibank must convince the

Second Circuit to reverse on just one of them—and it is likely that will occur.

       A.      The Second Circuit Likely Will Hold That The Discharge-For-Value Defense
               Requires A Present Entitlement To The Funds Mistakenly Transferred

       Citibank has argued that because the defendants were not entitled to the funds at the time

of the transfer, the discharge-for-value defense does not apply. As this Court recognized, “it is

undisputed that the 2016 Term Loan was not ‘due’ on August 11, 2020; indeed, the loan was not

set to mature for another three years.” Op. 43. The Court held, however, that the defendants did

not have to demonstrate that they were “entitled to the funds at the time of transfer”; it was enough

that the debt was “outstanding.” Id. Whether the debt must be due at the time of transfer is a pure

question of law that the Second Circuit will review de novo. And it is likely that the Second Circuit

will reach a different conclusion than this Court.

       Under New York law, the discharge-for-value defense applies only where the recipient has

a present entitlement to the transferred funds. In Carlisle, the New York Court of Appeals held

that a defendant may retain wrongfully transferred funds only if, at the time of receipt, an

“indebtedness” was “due” to the recipients of the funds. 215 N.Y. at 400. That means that the debt

actually has to be due at the time the mistaken payment is made. That rule makes sense, because


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there is a vast difference between a debt being due (i.e., it must be paid now) and a debt being

outstanding (i.e., it must be paid at some specified time in the future).

       In Banque Worms, the New York Court of Appeals cited Carlisle with approval. See 77

N.Y.2d at 368. This Court declined to give weight to the language in Carlisle, because in Banque

Worms, the language “appears only in a parenthetical following the citation to Carlisle, which

[Banque Worms] identifie[d] as one example of a case that ‘arguably lends support to the

proposition that New York, long ago, embraced the “discharge for value” rule.’ ” Op. 45 (quoting

Banque Worms, 77 N.Y.2d at 368). The Court stated that this “is hardly a wholesale adoption of

Carlisle.” Id. In the Second Circuit, Citibank anticipates arguing that Banque Worms did not need

to “adopt” Carlisle; that decision already was a long-established New York precedent, and it

remains good law today. The reason Banque Worms did not place more focus on Carlisle was that

the “present entitlement” question was not before that court. The contractual maturity in Banque

Worms was on the payment date, and the lender had expressly demanded payment on that date;

thus, the money was “due” in every conceivable sense. Banque Worms v. Bank Am. Int’l, 726 F.

Supp. 940, 940 (S.D.N.Y. 1989).

       Even apart from Carlisle, Banque Worms itself strongly suggests that a present entitlement

is required. This Court pointed to language in Banque Worms and the Restatement suggesting that

the discharge-for-value defense “may be available to ‘[a] creditor of another or one having a lien

on another’s property’—without further qualification.” Op. 44 (quoting Banque Worms, 77 N.Y.2d

at 367). But the Court did not address other language from Banque Worms clarifying that the

discharge-for-value defense requires “a beneficiary [to] receive[] money to which it is entitled.” 77

N.Y.2d at 373 (emphasis added). That language makes the same point as the language from

Carlisle, and it is consistent with the purpose behind the discharge-for-value defense. When a



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creditor receives money to pay a debt that is immediately due, it can safely assume the money was

not sent by mistake, unless other circumstances place it on notice of the mistake. By contrast, when

a creditor receives payment for a debt that is not due, it cannot simply assume, without more, that

the money was an off-schedule repayment of the entire loan. Instead, it is similarly situated to a

party that is not owed money at all—a situation where everyone agrees the discharge-for-value

defense plays no role.

        As a court in this District confirmed, “[t]he discharge for value rule contemplates that at

the time of the erroneous transfer the transferee/beneficiary have some present entitlement to the

funds.” A.I. Trade Fin., Inc. v. Petra Bank, 1997 WL 291841, at *4 (S.D.N.Y. June 2, 1997). This

Court distinguished A.I. Trade on the ground that the plaintiff there “merely had an order of

attachment” that would “not ripen until the plaintiff obtained a judgment in its favor,” whereas the

defendants here were bona fide creditors of Revlon. Op. 45-46 (quotation marks omitted and

alterations incorporated). In the Second Circuit, Citibank plans to argue that the rules should be no

different for an uncertain entitlement and a future entitlement; either way, there is no “present

entitlement to the funds.” Indeed, because of Revlon’s financial difficulties, the defendants’ ability

to be repaid in full was no more certain than the A.I. Trade plaintiff ’s ability. The Second Circuit

likely will agree.

        B.      The Second Circuit Likely Will Hold That The Defendants Were On Notice
                Of The Mistake At All Relevant Times

        Citibank has argued that the defendants were on inquiry notice at the time of the mistake,

and that a reasonable inquiry would have led them straight to the mistake. Although this Court

rejected that argument, it is likely that the Second Circuit will not. This is primarily a question of

law, because it turns on the question of what notice is required under Banque Worms.




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       This Court correctly held that a defendant may not rely on the discharge-for-value defense

if it had constructive notice of the mistake; actual notice is not required. Op. 63. Therefore, the

issue becomes what “kind of constructive notice prevents an assertion of the discharge-for-value

defense.” Id. at 54 (emphasis omitted). The Court declined to decide whether constructive notice

requires that the defendants should have known that Citibank had made a mistake, or also covers

situations in which the set of facts available to them would “make it prudent to conduct further

inquiry that would reveal the mistake.” Id. at 63-64 (emphasis added). The Court instead concluded

that the “[d]efendants did not have constructive notice of Citibank’s mistake under either

standard.” Id. at 64.

       The relevant question is whether an objectively reasonable person’s ordinary inquiry would

have led to his or her discovery of the mistake. RESTATEMENT (THIRD) OF RESTITUTION § 69(3)(c)

(Am. Law Inst. 2011). The evidence shows that it would have: The defendants testified that, if

they had not received the recall notices from Citibank, their own internal policies would have

required them to obtain a prepayment notice and, if none existed, to contact Citibank. See, e.g.,

Ex. B (Trial Tr.) at 354:1-355:12. Indeed, at least one defendant (HPS) had already emailed

Citibank on the morning of August 12 asking for a prepayment notice. Ex. C (PX 1207) at 5386.

The Court disparaged the search for a non-existent prepayment notice as “mere bookkeeping” (Op.

80 n.36), misreading a portion of Banque Worms that addressed whether the wire transfer was final

under the payment system rules (726 F. Supp. at 942) as a holding that an inquiry is irrelevant to

notice if it is motivated by bookkeeping discrepancies.

       The Court also appears to have concluded that the “inquiry” that some of the defendants

conducted on the morning of August 12 was complete before the recall notice arrived. Yet the

record is clear that none of the defendants had resolved their doubts about the payment, let alone



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proceeded with the ordinary-course booking of the payment, by that time. Trial Tr. 332:25-335:6,

627:22-628:16, 748:11-749:9, 996:9-997:20. Instead, they had escalated the matter to their front

offices and begun to consult with legal counsel. Trial Tr. 373:18-374:3, 707:13-708:11,

747:10-748-3, 749:10-13, 1081:9-24. At least, that is what happened at four of the defendants. The

other six, which the Court did not mention, conducted no inquiry at all; they were unaware that

the wire transfers had even occurred until after they received written notification of the mistake.2

And at least one defendant made the conscious decision not to call Citibank, precisely because it

was afraid that Citibank would confirm that the August 11 transfers were mistaken. Ex. D (Abrams

Dep. Tr.) at 22:19-23:10, 29:7-30:2.

       Citibank respectfully disagrees with the Court’s conclusion that a reasonable inquiry would

not necessarily have involved “contacting the bank [or Revlon] to confirm whether the payments

were intentional.” Op. 78. The Court correctly noted, relying on Citibank’s expert, that a

reasonable inquiry may take different forms depending on the circumstances. Id. But at minimum,

it must include resolving the very discrepancy that gave rise to the need for inquiry. As a general

matter, the obvious, common-sense thing to do when taken by surprise by a payment from

Citibank, on behalf of Revlon, would be to ask either Citibank or Revlon about the payment. That

is particularly true where, as here, Citibank’s calculation statements indicated that it would be

paying only interest, and it had not sent a notice of prepayment of the principal. The only party

that could adequately explain those circumstances was Citibank.




2
   Bardin Hill, Trial Tr. 787:6-788:4; Greywolf, Trial Tr. 811:1-24; Medalist, Trial Tr.
838:23-839:21; New Gen, Trial Tr. 867:11-25; Tall Tree, Trial Tr. 1138:10-13; ZAIS, Trial Tr.
947:15-20.

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       C.      The Second Circuit Likely Will Hold That A Separate Act Of Discharge Is
               Required Beyond Receipt Of The Payment

       Citibank has argued that the defendants were required to actively “discharge” the debt, not

simply receive the payment, for the discharge-for-value defense to apply. Citibank explained that

the defendants never discharged the Revlon debt: They ultimately chose not to apply the funds to

credit Revlon’s account, and the entirety of Revlon’s principal balance remained outstanding

immediately after the payments. The Court held that the mere receipt of Citibank’s funds is

sufficient to constitute a “discharge” under New York law (Op. 46-47), disagreeing with Citibank’s

argument that more is required. But the Second Circuit may well see things differently.

       Banque Worms, quoting the Restatement, stated that only “[a] creditor of another . . . who

has received any benefit in discharge of the debt” may rely on the discharge-for-value defense. 77

N.Y.2d at 367 (quoting RESTATEMENT (FIRST) OF RESTITUTION § 14(1)). Similarly, in Carlisle, the

Court of Appeals held that a creditor may rely on the discharge-for-value defense if it “credited

[the proceeds] on an indebtedness due.” 215 N.Y. at 415. The terms “in discharge of the debt” and

“credited” suggest that the creditor must take some act independent from passively receiving the

money.3

       Applying these principles, the Sixth Circuit has held “that the discharge-for-value defense

will apply unless the beneficiary receives notice of a mistake before the beneficiary of the transfer

credits the debtor’s account,” and that the district court had “erred in focusing on when [the




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    The Court also suggested that Citibank’s proposed rule was not “solidly rooted in the
Restatement.” Op. 50 n.25. But it is quoted directly from the Restatement, which explains that
discharge for value is based on the underlying principle that “it would be inequitable to require
restitution from the transferee [who], in the surrender of the debt or lien, [ ] has given value and
acquired title to the money.” RESTATEMENT (FIRST) OF RESTITUTION § 14 cmt. b. The defendants
have never contended that they “surrender[ed]” any debt or lien or otherwise “given value” for the
payment.

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beneficiary] received the funds.” In re Calumet Farm, Inc., 398 F.3d 555, 560 (6th Cir. 2005) (first

emphasis added). The Sixth Circuit explained that its approach “is consistent with one of the

underlying principles of the discharge-for-value rule; namely, that the creditor has given value for

the mistaken payment.” Id. (emphasis added). Although the Sixth Circuit was applying Kentucky

law, it did not cite any Kentucky case on the defense, and it expressly determined that its analysis

was consistent with Banque Worms. See id. at 559-60. It is likely that the Second Circuit will agree

with the Sixth Circuit’s reading of Banque Worms.

        This Court held that the “[d]efendants’ position is compelled by the Second Circuit’s

decision in Banque Worms.” Op. 47. That reasoning puts considerable weight on a single

paragraph that purports only to “apply[]” the state decision to the facts, not fill in gaps in the legal

rule. While the Banque Worms plaintiff argued that the payment was not irrevocable under the

payment system rules, it did not raise the argument, adopted in Calumet and other cases, that the

defense requires proof of discharge (or, at a minimum, awareness of the payment) by the lender.

And in any event, the Second Circuit did not say anything about whether discharge was required.

It simply concluded, without analysis, that the beneficiary was “entitled to retain the mistakenly

transferred” funds because it “did not have notice of the transferor’s error” “[a]t the time it received

the mistaken payment.” Banque Worms v. BankAmerica Int’l, 928 F.2d 538, 541 (2d Cir. 1991).

Here, Citibank has contended that a separate act of discharge was required; at minimum, the

defendants had to credit Revlon’s account. And, to the extent the Second Circuit is concerned

about resolving this important issue based solely on a rule derived by implication from Banque

Worms, it may choose to certify the question to the New York Court of Appeals—particularly

given the need for uniformity on this important issue and the fact that multiple other states follow

Citibank’s proposed rule. See Op. 49-50.



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       This Court also rejected Citibank’s reading in part because it “would presumably mean that

the relevant moment in time would vary from creditor to creditor.” Op. 53. Of course, it is possible

that in a multi-recipient discharge-for-value case (of which this appears to be the first), facts may

differ from one defendant to another. Even if streamlining factfinding were the overriding goal in

designing substantive law, it is far from clear that assessing each lender’s notice at the time of that

lender’s discharge would be any more complex than doing so at the time of each lender’s receipt

of the funds. In cases like this one, moreover, applying the discharge requirement would simplify

the facts: It is undisputed not only that no defendant took action to discharge the debt, but that the

defendants consciously abandoned their normal booking processes and put the money in suspense

accounts, precisely because they knew that there was uncertainty.4 Thus, a discharge requirement

would entirely obviate the need to determine whether any defendant in this case was on notice.

       For all these reasons, it is likely that the Second Circuit will hold that the defendants did

not “discharge” the debt “for value.”

IV.    INJUNCTIVE RELIEF WOULD SERVE THE PUBLIC INTEREST

       The public interest also strongly favors an injunction. The financial industry needs clarity

regarding what legal rules apply to mistaken wire transfers. The industry will only get that clarity

if and when the Second Circuit issues an authoritative opinion. Until it does so, another district

court may adopt this Court’s approach—or not. See Camreta v. Greene, 563 U.S. 692, 709 n.7

(2011) (“A decision of a federal district court judge is not binding precedent in either a different

judicial district, the same judicial district, or even upon the same judge in a different case.”); see

also Op. 49-50. Financial institutions face uncertain risks of great magnitude. Thus, regardless of



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   Trial Tr. 373:18-25, 442:18-21, 637:6-15, 651:18-652:10, 747:15-748:6, 793:20-794:15,
798:5-20, 819:1-820:8, 826:7-827:12, 853:12-17, 869:13-871:6, 951:23-952:6, 996:25-997:16,
1148:16-24; Ex. E (Dent Decl.) ¶ 15.

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the outcome of an appeal, an injunction preserving the status quo serves the public interest by

ensuring that the Second Circuit can announce a uniform interpretation on a hotly contested point

of law.

          The ruling in this case may gravely impact the financial industry. Every day, financial

institutions exchange billions of dollars via wire transfers, facilitating the quick and efficient flow

of money between these institutions and their clients. Those transfers form the foundation of the

global financial system. See generally Dkts. 171-72. Given the ubiquity and frequency of wire

transfers, errors are inevitable. As three amici in this case—the Bank Policy Institute, The Clearing

House Association LLC, and The Clearing House Payments Company LLC—have explained, “a

ruling validating the retention of the payments in this case would undermine the smooth

functioning of syndicated lending.” Dkt. 171 at 7-8; see id. at 6 (noting the “ ‘explosion’ of

litigation” and “unforeseen consequences” that can follow “decisions inconsistent with the norms

and practices of parties that engage in particular transactions”). The costs of insuring against a

“finders, keepers” marketplace would place a significant burden on the agents that handle the

transmittal of payments (id. at 3-4), and would “impose broad and inequitable risks” upon them

(Dkt. 172 at 3). And it only increases those costs if one side can win in the district court, and then

run off with the amount in dispute.

          Since the Court’s ruling, industry commentators have expressed great concern about the

possible effects of the Court’s ruling. They have explained, for instance, that it “could [] have a

lasting impact on the role administrative agents play in the syndicated loan industry by exposing

them to higher operational and regulatory risks.” Chris Dolmetsch, Katherine Doherty, & Jennifer

Surane, Citi Loses Bid to Recoup Massive Mistake in Surprise Ruling, Bloomberg (Feb. 16, 2021),




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https://www.bloomberg.com/news/articles/2021-02-16/citigroup-loses-fight-to-get-back-millions-

in-mistaken-transfer.

       But right now, the industry cannot even calculate the nature of the risks it is facing. The

Court’s opinion has expanded the discharge-for-value defense, contrary to the custom and practice

in the industry of returning mistaken payments. If a similar case involving a mistaken wire transfer

arises, the district court might follow this Court’s approach. Or it might take the opposite tack.

That continued uncertainty undermines the financial industry’s ability to plan ahead. And that

uncertainty will almost assuredly be resolved if the Second Circuit can hear this case on appeal

and issue an authoritative opinion.




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                                        CONCLUSION

       The Court should enter an injunction pending appeal ordering the defendants, their officers,

agents, employees, successors, and all those in active concert or participation with them to

immediately refrain from removing, withdrawing, transferring, assigning, or otherwise disposing

of the funds mistakenly transferred by Citibank on August 11, 2020, through final disposition of

Citibank’s appeal. And, at a minimum, if this Court does not grant an injunction, this Court should

at least extend the existing TROs until the Second Circuit decides whether to issue its own

injunction pending appeal.


Dated: March 2, 2021

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